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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  LEXINGTON DIVISION


SAMANTHA LUNSFORD, on behalf of
herself and others similarly situated,

        Plaintiff,

                                                CIVIL ACTION NO. 5:22-cv-00122
v.


                                 FIRST AMENDED COMPLAINT AND
SPEEDUP 3 LLC and LAKHBIR SINGH, DEMAND FOR JURY TRIAL
individually,

        Defendants.




        Plaintiff Samantha Lunsford (“Plaintiff”), files her First Amended Complaint and

Demand for Jury Trial against Speedup 3 LLC and Lakhbir Singh (“the Company” or

“Defendant”) and in support thereof, alleges as follows:

                                            PARTIES
        1.      Defendant Speedup 3 LLC is a gas station and food mart.

        2.      Defendant Lakhbir Singh (“Singh”) oversees the day-to-day operations of the

business. At all times material hereto, Defendant Lakhbir Singh regularly exercised the authority

to: (a) hire and fire employees of Speedup 3 LLC; (b) determine the work schedules for the

employees of Speedup 3 LLC; and (c) control the finances and operations of Speedup 3 LLC.

        3.      Defendants employed Plaintiff from on or about July 25, 2021 until October 8,

2021.

        4.      Plaintiff is an individual residing in Georgetown, Kentucky.


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        5.      Plaintiff worked for Defendants’ at their Georgetown location located at 208 N.

Broadway, Georgetown, Kentucky, 40321.

                                  JURISDICTION AND VENUE


        6.      This Court has jurisdiction over the subject matter of this action under 29 U.S.C.

§ 216(b) and 28 U.S.C. § 1331.

        7.      Venue is proper in the Eastern District of Kentucky because a substantial portion

of the events forming the basis of this suit occurred in this District, and Defendants’ principal

place of business is located in this District. In particular, Defendants’ principal place of business

is located at 208 N. Broadway, Georgetown, Kentucky 40321.

                                            COVERAGE


        8.      At all material times during the last three years, Defendants were an enterprise

covered by the FLSA, and as defined by 29 U.S.C. § 203(r) and 203 (s).

        9.      At all material times during the last three years, Defendants were an employer as

defined by 29 U.S.C. § 203(d) and KRS 337.010(d).

        10.     At all material times during the last three years, Defendants have had an annual

gross volume of sales made or business done of not less than $500,000 (exclusive of excise taxes

at the retail level which are separately stated).

        11.     At all material times during the last three years, Defendants have been an

enterprise engaged in commerce or in the production of goods for commerce within the meaning

of Section 203(s)(1) of the FLSA, in that the company had two or more employees:

                a. Engaged in commerce; or

                b. Engaged in the production of goods for commerce; or



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               c. Handling, selling or working on goods or materials that have been moved in

                      or produced for commerce. (i.e. computers, telephones, equipment and/or

                      office supplies).

                                     FACTUAL ALLEGATIONS


       12.     Defendants have a common pay policy and/or pay practice which fails to pay

certain non-exempt employees at a rate of time and one-half their regular rate of pay for hours

worked in excess of forty (40) per week.

       13.     Plaintiff was hired as in July 25, 2021 at a rate of $13 per hour. In her position as

General Manager, Plaintiff reported directly to Defendant Lakhbir Singh.

       14.       Plaintiff typically began working at or around 1:00 p.m. and worked until 11:00

p.m. seven days per week.

       15.     In her position, Plaintiff’s job duties included filing provide customer service to

patrols, assist in the daily operations of the store, negotiate with vendors, cover shifts when

needed, make orders, and other duties needed in the daily operation of the store.

       16.     Plaintiff’s job duties did not include exempt work.

       17.     Plaintiff was paid less than $684 per week during each week she was employed

by Defendants.

       18.     Defendants improperly misclassified Plaintiff as exempt from overtime.

       19.     Defendants failed to record all of the hours worked by Plaintiff.

       20.     Plaintiff routinely worked in excess of forty (40) hours per week as part of her

regular job duties.

       21.     In fact, the Plaintiff’s scheduled hours worked by Plaintiff resulted in a total of

more than forty (40) hours per workweek.


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       22.     Despite working more than forty (40) hours per week, Defendants failed to pay

Plaintiff overtime compensation at a rate of time and a half of her regular rate of pay for hours

worked over forty (40) in a workweek.

       23.     Upon information and belief, Defendants had/have a company-wide policy of

failing to pay certain non-exempt employees proper overtime compensation for all of their

overtime hours worked.

       24.     Defendants knowingly, willfully, or with reckless disregard carried out their

illegal pattern or practice of failing to pay proper overtime compensation with respect to Plaintiff

and those similarly situated to her.

       25.     Defendants did not act in good faith or reliance upon any of the following in

formulating its pay practices: (a) case law, (b) the FLSA, 29 U.S.C. § 201, et seq., (c)

Department of Labor Wage & Hour Opinion Letters, or (d) the Code of Federal Regulations.

       26.     Defendants have acted willfully in failing to pay Plaintiff, and those similarly

situated to her, in accordance with the law.

       27.     Following Plaintiff’s resignation from her employment with Defendants for their

unlawful failure to pay her overtime wages, Defendant Singh told a potential employer when

they called for a reference that Plaintiff had stolen thousands of dollars from him.

       28.     Singh’s statement claiming that Plaintiff stole money from him was false.

       29.     Singh knew or should have known that his statements were false.

       30.     As a result of Singh’s knowingly false statements, Plaintiff suffered damages,

including damages to her reputation and by having prospective employers withhold job offers

from her.




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                                COUNT I
            RECOVERY OF OVERTIME COMPENSATION UNDER THE FLSA

       31.     Plaintiff reincorporates and readopts all allegations contained within Paragraphs

1–30 above.

       32.     Plaintiff is entitled to be paid time and one-half of her regular rate of pay for each

hour worked in excess of forty (40) per workweek.

       33.     Defendants misclassified Plaintiff as exempt from overtime compensation.

       34.     During her employment with Defendants, Plaintiff regularly worked overtime

hours but were not paid time and one-half compensation for same.

       35.     As a result of Defendants’ intentional, willful, and unlawful acts in refusing to

pay Plaintiff, and those similarly situated to her, time and one-half of their regular rate of pay for

each hour worked in excess of forty (40) per workweek in one or more workweeks, Plaintiff has

suffered damages, plus incurring reasonable attorneys’ fees and costs.

       36.     As a result of Defendants’ willful violation of the FLSA, Plaintiff is entitled to

liquidated damages.

       37.     Plaintiff is entitled to recover attorneys’ fees and costs pursuant to 29 U.S.C.

§216(b).

                                COUNT II
           RECOVERY OF OVERTIME COMPENSATION UNDER K.R.S. 337.385

       38.     Plaintiff reincorporates and readopts all allegations contained within Paragraphs

1–30 above.

       39.     Plaintiff is entitled to be paid time and one-half of her regular rate of pay for each

hour worked in excess of forty (40) per workweek.

       40.     Defendants misclassified Plaintiff as exempt from overtime compensation.



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       41.     During her employment with Defendants, Plaintiff regularly worked overtime

hours but were not paid time and one-half compensation for same.

       42.     As a result of Defendants’ intentional, willful, and unlawful acts in refusing to

pay Plaintiff, and those similarly situated to her, time and one-half of their regular rate of pay for

each hour worked in excess of forty (40) per workweek in one or more workweeks, Plaintiff has

suffered damages, plus incurring reasonable attorneys’ fees and costs.

       43.     As a result of Defendants’ willful violation of K.R.S. 337.385, Plaintiff is entitled

to liquidated damages.

       44.     Plaintiff is entitled to recover attorneys’ fees and costs pursuant to 29 U.S.C.

§216(b).

                                          COUNT III
                                         DEFAMATION

       45.     Plaintiff reincorporates and readopts all allegations contained within Paragraphs

1–30 above.

       46.     Singh made defamatory statements about Plaintiff by claiming that Plaintiff stole

money while working for him.

       47.     Singh told another person that Plaintiff hired under age minors while she was a

manager.

       48.     Singh’s statements were made to third parties.

       49.     Singh’s statements were false.

       50.     Singh knew or should have known his statements were false.

       51.     Singh’s statements constitute defamation per se.

       52.     Singh’s statements exposed Plaintiff to loss of potential employment, financial

hardship, contempt, and ridicule with potential employers and with Plaintiff’s peers.

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       53.     As a result, Plaintiff was injured in her good name and reputation, has lost

potential employment, and has suffered mental anguish. Plaintiff has suffered serious financial

harm, as a result of the Defendants’ unlawful action in her employment as well as

emotion/physical distress.

                                   COUNT IV
                     RETALIATION UNDER THE FLSA AND KRS 337

       54.     Plaintiff reincorporates and readopts all allegations contained within Paragraphs

1–30 above.

       55.     Plaintiff engaged in protected conduct under the FLSA by complaining about and

opposing Defendants’ unlawful pay practices to Defendants. Specifically, Plaintiff complained to

Defendants regarding their unlawful failure to pay her overtime.

       56.     Defendants knew or should have known that Plaintiff engaged in conduct

protected by the FLSA.

       57.     As a result of Plaintiff’s participation in protected activity, Defendants took

adverse employment actions against her, including but not limited to, withholding Plaintiff’s

final paycheck, making false and defamatory statements to Plaintiff’s prospective employers, and

terminating the employment of Plaintiff’s close family members.

       58.     Defendants’ actions constitute unlawful retaliation under the FLSA.

       59.     As a result of Defendants’ unlawful retaliation, Plaintiff has suffered and

continues to suffer damages, including loss of pay and benefits, attorneys’ fees, and costs.

       60.     Defendants’ conduct violates the FLSA.

                                        REQUEST FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants for:


          a) The payment of all overtime hours at time and one-half the regular rate of

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            pay for the hours worked by her for which Defendants did not properly
            compensate her;
         b) Liquidated damages;
         c) Damages for non-economic damages, including but not limited to
            humiliation, ridicule, and mental anguish;
         d) Reasonable attorneys’ fees and costs incurred in this action;
         e) Pre- and post-judgment interest as provided by law;
         f) Trial by jury on all issues so triable;
         g) Any and all further relief that this Court determines to be appropriate.


                                    JURY DEMAND
      Plaintiff demands a trial on all claims so triable.



                                             Respectfully submitted,

                                             s/J. Corey Asay
                                             J. Corey Asay
                                             MORGAN & MORGAN, P.A.
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                                             Lexington, KY 40507
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                                             Counsel for Plaintiff




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on July 14, 2022, I filed the foregoing using the Court’s CM/ECF

system, which I understand will transmit notice to all counsel of record.




                                                     s/ J. Corey Asay
                                                     J. Corey Asay




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